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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE


UNITED STATES OF AMERICA                                                            PLAINTIFF

V.                                          CRIMINAL ACTION NUMBER 3:09CR-153-03-S


OSWALDO GUARDA-MONDRAGON                                                          DEFENDANT



                            ACCEPTANCE OF PLEA OF GUILTY,
                             ADJUDICATION OF GUILT, AND
                                NOTICE OF SENTENCING


         Pursuant to the Report and Recommendation of Magistrate Judge Dave Whalin, the
pleas of guilty by the Defendant as to Counts 1,3,4 of the Indictment is hereby accepted, and the
Defendant is adjudged guilty of such offenses.
         Sentencing is hereby scheduled for July 27, 2010 at 10:00 a.m. , before the Honorable
Charles R. Simpson III, Judge United States District Court.


 May 10, 2010




Copies to: U.S. Attorney
           U.S. Marshal
           U.S. Probation
           Counsel of Record
